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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
───────────────────────────────────
SN 1360, LLC,

                     Plaintiff,
                                               20-cv-1972 (JGK)
          - against -
                                               ORDER
CORPORATE AVIATION SERVICES, LLC,
d/b/a, AEROGEEK,

                    Defendant.
───────────────────────────────────

JOHN G. KOELTL, District Judge:

     The Court has reviewed the Report and Recommendation of

Magistrate Judge Aaron, dated December 11, 2020. Docket No. 30.

     No objections have been filed to the Report and

Recommendation, and the time for any objections has passed. In any

event, the Court finds that the Report and Recommendation is well-

founded and correct and should be adopted. The Court therefore

adopts the Report and Recommendation. The Complaint is dismissed

without prejudice for failure to plead subject matter jurisdiction

adequately.   The plaintiff may file an amended complaint within 30

days. The Clerk is also directed to close all pending motions in

this case.



SO ORDERED.

Dated:    New York, New York
          December 28, 2020

                                       ______/s/ John G. Koeltl____
                                              John G. Koeltl
                                       United States District Judge
